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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII



   LAI YING TSANG; SCOTT JEFFERSON,               Case No. 1:23-CV-00333-MWJS-
                        Plaintiffs,               KJM

               vs.                                DECLARATION OF SCOTT
   PORTER MCGUIRE KIAKONA, LLP;                   JEFFERSON
   ASSOCIATION OF APARTMENT OWNERS
   OF THE PACIFIC ISLANDER,                       [IN SUPPORT OF PLAINTIFFS
                                                  MEMORANDUM IN OPPOSITION
                        Defendants.               TO DEFENDANT’S MOTION FOR
                                                  SUMMARY JUDGMENT AND FOR
                                                  ATTORNEYS’ FEES]




                      DECLARATION OF SCOTT JEFFERSON

               I, Scott Jefferson, declare and state as follows:

               1.    I have personal knowledge of the facts contained in this

   declaration and if called as a witness, I could and would testify as to their

   accuracy.

               2.    After my wife Kaddy and I purchased the Pacific Islander

   Apartment, I telephoned and/or emailed the property managers I used in

   Hawaii, my realtor, Jenny Pham, Pacific Properties and it property manager,

   Hawaiiana Management Co. to find out where to pay the maintenance fees.

   However, none of my calls and emails brought me to the right and responsible

   person.
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               3.    I pay all my bills on time and I have a high credit score of

   827. I am not a deadbeat.

               4.    Covid hit and I put the matter on the back burner and the

   AOAO could easily find me or Kaddy.          Kaddy’s address is on the Final

   Settlement Statement and Deed.

               5.    I do not know why Kaddy is listed as “unmarried” on the

   Deed. I did not say or do anything to make it appear as Kaddy is “unmarried”.

               6.    Kaddy and I only learned about the AOAO’s attempt to

   collect the maintenance fees in February 2023, when we received an email or

   letter from the Court in Hawaii.   It was not from Defendant Porter McGuire

   Kiakona, LLP.

               7.    From there, I learned that Ramona Laree McGuire were

   sending collection letters and notices of liens to Kaddy, but were mailing them

   to Diamond Bar, California. Kaddy has never lived in Diamond Bar.

               8.    Moreover, when it came time, in October 2022, to serve

   Kaddy the complaint for foreclosure, McGuire had Kaddy’s correct address in

   New York, but still served it on an unknown person with an accent. A true and

   correct copy of the Affidavit of Service is attached as Exhibit 4.    Of course,

   Kaddy and I never knew about the foreclosure action.

               9.    It was finally, in February 2023, that I received a notification

   from the State of Hawaii District Court about the foreclosure action so I

   telephoned McGuire, the lawyer for the AOAO.




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                10.   After finding out the amount owed, I immediately mailed a

   check to McGuire to pay the past maintenance fees and cable fees, but not

   McGuire’s fee of $7,264.90 which seemed high. I wanted to discuss McGuire’s

   attorneys’ fee.

                11.   A week later, I mailed McGuire another check, this time for

   her fees in the amount of $4,500, and wrote the words “Accord & Satisfaction

   – Paid in Full.” My check was cashed.

                12.   Soon thereafter, I received another letter from McGuire

   demanding $13,644.31 for her attorneys’ fees, which was followed by another

   letter a month later, demanding $23,402.52 for her attorneys’ fees.

                13.   I was shocked and utterly repelled by McGuire’s invoices

   that seem so detached from reality.

                14.   In my search for an attorney to deal with McGuire, I was

   somehow led to Richard L. Holcomb, Bruce F. Sherman, and Terrance M.

   Revere.

                15.   Holcomb and his colleagues said that I had a “juicy” case

   against McGuire, who had a reputation of being a “predatory” attorney and that

   I “would be doing the State of Hawaii a great service” by filing suit.

                16.   However, my experience with Holcomb would be worse than

   dealing with McGuire. From the start, I had to pay a considerable retainer,

   and allow Holcomb to make automatic monthly debit withdrawals from my

   bank account.




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                 17.   What really frightened me is that if I ever fired Holcomb or

   withdrew my case, I would be subject to his attorneys’ fees. I was more afraid

   of Holcomb than McGuire.

                 18.   I was completely and utterly dependent on Holcomb and his

   colleagues.    I told them that I didn’t understand “legalese” but they never

   explained things so that I understood. I did not make any decisions on which

   court to file suit or what claims were being made against McGuire.

                 I declare under penalty of perjury that the foregoing is true and

   correct to the best of my knowledge, information, and belief.

                 Executed this 25th day of October 2024 in New York.




                                        SCOTT JEFFERSON




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